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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


In re:                                                 Chapter 7

HOVATTER FRIEDMAN SAPUTELLI & LEVI,                    Case No. 19-31473(ABA)

                        Debtor.


                                SUBSTITUTION OF ATTORNEY

         The undersigned hereby consent to the withdrawal of Jonathan S. Ziss, Esq. of Goldberg

Segalla, LLP as counsel for Charles N. Persing, as the Receiver for Hovatter Friedman Saputelli

& Levi, LLP (the “Receiver”) and the substitution of Andrea Dobin, Esq. of McManimon

Scotland & Baumann, LLC as superseding counsel for the Receiver as to all matters relating to

the above-captioned proceeding.

GOLDBERG SEGALLA, LLP,                           MCMANIMON SCOTLAND & BAUMANN, LLC


By:      /s/ Jonathan S. Ziss                    By:    /s/ Andrea Dobin
         Jonathan S. Ziss                               Andrea Dobin


Withdrawing Counsel for the Receiver             Superseding Counsel for the Receiver
